Case 6:08-cr-00176-JA-TBS Document 23 Filed 09/22/08 Page 1 of 37 PagelD 165

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

UNITED STATES OF AMERICA
V. Case No. 6:08-cr-176-Orl-28GJK
FRANK L. AMODEO
PLEA AGREEMENT
Pursuant to Fed. R. Crim. P. 11(c), the United States of America, by Robert E.
O'Neill, United States Attorney for the Middle District of Florida, and the defendant,
FRANK L. AMODEO, and the attorneys for the defendant, Harrison T. Slaughter, Jr.,
Esq., mutually agree as follows:
A. Particularized Terms
1. Counts Pleading To
The defendant shall enter a plea of guilty to Counts One, Seven, Eight,
Ten, and Twenty-Seven of the Indictment. Count One charges the defendant with
Conspiracy, in violation of 18 U.S.C. § 371. Counts Seven, Eight, and Ten each charge
the defendant with Failure to Collect and Remit Payroll Taxes, in violation of 26 U.S.C. §
7202. Count Twenty-Seven charges the defendant with Obstruction of an Agency
Proceeding, in violation of 18 U.S.C. § 1505.
2. Maximum Penalties
Counts One, Seven, Eight, Ten and Twenty-Seven each carry a maximum

sentence of five years imprisonment, a fine of $250,000, a term of supervised release of

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not more than three years, and a special assessment of $100 per felony count, said
special assessment to be due on the date of sentencing. The fines for Counts One,
Seven, Eight and Ten, are also subject to Title 18, United States Code, Section 357 1(d),
which provides for a fine which is not more than the greater of twice the gain or twice
the gross loss. With respect to certain offenses, the Court shall order the defendant to
make restitution to any victim of the offenses, and with respect to other offenses, the
Court may order the defendant to make restitution to any victim of the offenses, or to the
community, as set forth below.
3. Elements of the Offenses
The defendant acknowledges understanding the nature and elements of
the offenses with which defendant has been charged and to which defendant is
pleading guilty. The elements of Count One (Conspiracy, 18 U.S.C. § 371) are:
First: That two or more persons, in some way or manner, came to
a mutual understanding to try to accomplish a common and
unlawful plan, as charged in the indictment:
Second: That the Defendant, knowing the unlawful purpose of the
plan, willfully joined in it:

Third: That one of the conspirators during the existence of the

 

conspiracy knowingly committed at least one of the methods

(or “overt acts") described in the indictment; and

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Fourth: That such "overt act" was knowingly committed at or about
the time alleged in an effort to carry out or accomplish some
object of the conspiracy.

The elements of Counts Seven, Eight, and Ten (Failure to Collect and

Remit Payroll Taxes; 26 U.S.C. § 7202) are:

First: That the defendant was a person who had a duty to collect,
truthfully account for, and pay over federal income and social
security taxes that the defendant was required to withhold
from the wages of employees for the charged calendar
quarters;

Second: That the defendant failed to collect or truthfully account for
and pay over federal income and social security taxes that
the defendant was required to withhold from the wages of
employees for said calendar quarter; and

Third: That the defendant acted willfully.

The elements of Count Twenty-Seven (Obstruction of an Agency

Proceeding, 18 U.S.C. 1505) are:

First: there was an agency proceeding:
Second: the defendant was aware of that proceeding; and
Third: that the defendant intentionally endeavored corruptly to

 

influence, obstruct or impede the pending proceeding.

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4. No Further Charges

If the Court accepts this plea agreement, the United States Attorney's
Office for the Middle District of Florida agrees not to charge defendant with committing
any other federal criminal offenses known to the United States Attorney's Office at the
time of the execution of this agreement, related to the conduct giving rise to this plea
agreement.
5. Mandatory Restitution to Victim of Offense of Conviction
Pursuant to 18 U.S.C. §§ 3663A, defendant agrees to make full
restitution to the Internal Revenue Service and any client taxpayer who is required to
re-pay the Internal Revenue Service for withholding and FICA taxes not turned over by
defendant and any company with which he was affiliated to the Internal Revenue
Service.
6. Guidelines Sentence
Pursuant to Fed. R. Crim. P. 11(c)(1)(B), the United States will
recommend to the Court that the defendant be sentenced within the defendant's
applicable guidelines range as determined by the Court pursuant to the United States
Sentencing Guidelines, as adjusted by any departure the United States has agreed to
recommend in this plea agreement. The parties understand that such a
recommendation is not binding on the Court and that, if it is not accepted by this Court,
neither the United States nor the defendant will be allowed to withdraw from the plea

agreement, and the defendant will not be allowed to withdraw from the plea of guilty.

   

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7. Acceptance of Responsibility - Three Levels

At the time of sentencing, and in the event that no adverse information is
received suggesting such a recommendation to be unwarranted, the United States will
not oppose the defendant's request to the Court that the defendant receive a two-level
downward adjustment for acceptance of responsibility, pursuant to USSG §3E1.1(a).
The defendant understands that this recommendation or request is not binding on the
Court, and if not accepted by the Court, the defendant will not be allowed to withdraw
from the plea.

Further, at the time of sentencing, if the defendant's offense level prior to
operation of subsection (a) is level 16 or greater, and if the defendant complies with the
provisions of USSG §3E1.1(b), the United States agrees to file a motion pursuant to
USSG §3E1.1(b) for a downward adjustment of one additional level. The defendant
understands that the determination as to whether the defendant has qualified for a
downward adjustment of a third level for acceptance of responsibility rests solely with
the United States Attorney for the Middle District of Florida, and the defendant agrees
that the defendant cannot and will not challenge that determination, whether by appeal,
collateral attack, or otherwise.

8. Role in Offense

The United States will recommend to the Court that the defendant receive

a four-level upward adjustment, pursuant to USSG § 3B1.1(a), regarding the

defendant's role in the offense. The defendant understands that this recommendation

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or request is not binding on the Court, and if not accepted by the Court, the defendant
will not be allowed to withdraw from the plea.

9. No Upward/Downward Departure - Joint Recommendation

Pursuant to Fed. R. Crim. P. 11(c)(1)(B), the United States and the

defendant agree to jointly recommend to the Court that in sentencing the defendant the
Court neither depart upward nor downward from the applicable sentencing guideline
range, and the United States and the defendant further agree that no such upward or
downward departure would be appropriate in this case. The defendant, however,
retains the ability to recommend to the Court that he receive a downward departure for
diminished capacity, pursuant to U.S.S.G. § 5K2.13. The defendant understands that
these recommendations or requests are not binding on the Court, and if not accepted by
the Court, the defendant will not be allowed to withdraw from the plea.

10. Cooperation - Substantial Assistance to be Considered

Defendant agrees to cooperate fully with the United States in the

investigation and prosecution of other persons, and to testify, subject to a prosecution
for perjury or making a false statement, fully and truthfully before any federal court
proceeding or federal grand jury in connection with the charges in this case and other
matters, such cooperation to further include a full and complete disclosure of all relevant
information, including production of any and all books, papers, documents, and other
objects in defendant's possession or control, and to be reasonably available for
interviews which the United States may require. If the cooperation is completed prior to

sentencing, the government agrees to consider whether such cooperation qualifies as

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“substantial assistance" in accordance with the policy of the United States Attorney for
the Middle District of Florida, warranting the filing of a motion at the time of sentencing
recommending (1) a downward departure from the applicable guideline range pursuant
to USSG §5K1.1, or (2) the imposition of a sentence below a statutory minimum, if any,
pursuant to 18 U.S.C. § 3553(e), or (3) both. If the cooperation is completed
subsequent to sentencing, the government agrees to consider whether such
cooperation qualifies as "substantial assistance" in accordance with the policy of the
United States Attorney for the Middle District of Florida, warranting the filing of a motion
for a reduction of sentence within one year of the imposition of sentence pursuant to
Fed. R. Crim. P. 35(b). In any case, the defendant understands that the determination
as to whether "substantial assistance" has been provided or what type of motion related
thereto will be filed, if any, rests solely with the United States Attorney for the Middle
District of Florida, and the defendant agrees that defendant cannot and will not
challenge that determination, whether by appeal, collateral attack, or otherwise.

11. Use of Information - Section 1B1.8

Pursuant to USSG §1B1.8(a), the United States agrees that no self-

incriminating information which the defendant may provide during the course of
defendant's cooperation and pursuant to this agreement shall be used in determining
the applicable sentencing guideline range, subject to the restrictions and limitations set

forth in USSG §1B1.8(b).

    
  

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12. Cooperation - Responsibilities of Parties

a. The government will make known to the Court and other relevant
authorities the nature and extent of defendant's cooperation and any other mitigating
circumstances indicative of the defendant's rehabilitative intent by assuming the
fundamental civic duty of reporting crime. However, the defendant understands that the
government can make no representation that the Court will impose a lesser sentence
solely on account of, or in consideration of, such cooperation.

b. It is understood that should the defendant knowingly provide
incomplete or untruthful testimony, statements, or information pursuant to this
agreement, or should the defendant falsely implicate or incriminate any person, or
should the defendant fail to voluntarily and unreservedly disclose and provide full,
complete, truthful, and honest knowledge, information, and cooperation regarding any of
the matters noted herein, the following conditions shall apply:

(1) | The defendant may be prosecuted for any perjury or false
declarations, if any, committed while testifying pursuant to this agreement, or for
obstruction of justice.

(2) The United States may prosecute the defendant for the
charges which are to be dismissed pursuant to this agreement, if any, and may either
seek reinstatement of or refile such charges and prosecute the defendant thereon in the
event such charges have been dismissed pursuant to this agreement. With regard to
such charges, if any, which have been dismissed, the defendant, being fully aware of

the nature of all such charges now pending in the instant case, and being further aware

 

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of defendant's rights, as to all felony charges pending in such cases (those offenses
punishable by imprisonment for a term of over one year), to not be held to answer to
said felony charges unless on a presentment or indictment of a grand jury, and further
being aware that all such felony charges in the instant case have heretofore properly
been returned by the indictment of a grand jury, does hereby agree to reinstatement of
such charges by recision of any order dismissing them or, alternatively, does hereby
waive, in open court, prosecution by indictment and consents that the United States
may proceed by information instead of by indictment with regard to any felony charges
which may be dismissed in the instant case, pursuant to this plea agreement, and the
defendant further agrees to waive the statute of limitations and any speedy trial claims
on such charges.

(3) | The United States may prosecute the defendant for any
offenses set forth herein, if any, the prosecution of which in accordance with this
agreement, the United States agrees to forego, and the defendant agrees to waive the
Statute of limitations and any speedy trial claims as to any such offenses.

(4) | The government may use against the defendant the
defendant's own admissions and statements and the information and books, papers,
documents, and objects that the defendant has furnished in the course of the
defendant's cooperation with the government.

(5) The defendant will not be permitted to withdraw the guilty
pleas to those counts to which defendant hereby agrees to plead in the instant case but,

in that event, defendant will be entitled to the sentencing limitations, if any, set forth in

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this plea agreement, with regard to those counts to which the defendant has pled; or in
the alternative, at the option of the United States, the United States may move the Court
to declare this entire plea agreement null and void.

13. Taxes - Payment and Cooperation

The defendant agrees to pay all taxes, interest, and penalties found by the

Internal Revenue Service to be lawfully owed and due to the United States Treasury for
the years 2004 through and including 2006, and to cooperate with and provide to the
Internal Revenue Service any documentation necessary for a correct computation of all
taxes due and owing for those years, and further agrees that the Court may make this
term a condition of any sentence of probation or supervised release. The defendant
may avail himself of any administrative and/or court procedures normally available to
taxpayers in determining the correct tax due.

16. Forfeiture of Assets

The defendant agrees to forfeit to the United States immediately and

voluntarily any and all assets and property, or portions thereof, subject to forfeiture
pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461, whether in the possession
or control of the United States or in the possession or control of the defendant or
defendant's nominees. The assets to be forfeited specifically include, but are not limited
to, the following:

Money Judgment

a. A forfeiture money judgment in an amount not less than $172 million and

not more than $181,810,518.66, the exact amount to be determined by the
Court at, or before, sentencing, which sum constitutes proceeds obtained

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directly or indirectly as a result of the conspiracy to commit wire fraud
charged in Count One. The net proceeds of any asset directly forfeited as
property constituting or traceable to proceeds of the offenses charged
herein shall be credited in partial satisfaction of the money judgment.

Property Constituting, or Traceable to, Proceeds of Count One

b.

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The real property, including all improvements thereon and appurtenances
thereto, located at:

(1) 1159 Delaney Avenue, Orlando, Florida;

(2) 3801 Carolina Avenue, Richmond, Virginia;

(3) | 4905 Research Drive, Huntsville, Alabama:

(4) 102 West Whiting Street, Tampa, Florida: and

(5) The proceeds of the sale of 509 Riverfront Parkway, Chattanooga,
Tennessee, currently held in the bankruptcy estate of Winpar
Hospitality Chattanooga, LLC, Case No. 07-11908, U.S. Bank.
Court, E.D. Tenn.

The following vehicles:

(1) 2006 Black Harley Davidson Motorcycle,
VIN # 1HD1BWB156Y077592-.

(2) 2006 Mercedes Benz CLS 500C Coupe,
VIN # WDDDJ75X46A032858; and

(3) 2006 BMW 750Li, VIN # WBAHN83536DT30059

Gates Learjet Model 25D, Aircraft Number 4488W;

The following promissory notes:

(1) | A promissory note in the amount of $3,500,000.00 dated on or
about May 7, 2007 between Wellington Capital and Worker's

Temporary Staffing, Inc., including payments of $63,000.00 per
month; and

 
 

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(2) | A promissory note in the amount of $5,500,000.00 dated on or
about May 27, 2007 between Mirabilis Ventures, Inc. and Conrad
D. Eigenmann, Jr., including semi-annual payments of at least
$100,000.00.

f. The following seized funds:

(1) $253,487.45 in proceeds seized from the trust account of the law
firm of Balch Bingham LLP:

(2) $101,393.86 in proceeds seized from the trust account of the law
firm of Shutts & Bowen;

(3) $42,419.72 in proceeds seized from the trust account of the law
firm of Mateer and Harbert:

(4) $100,000.00 in proceeds seized from the trust account of the law
firm of Maher, Guily, Maher PA;

(5) $105,922.96 in proceeds seized from the trust account of the law
firm of Martin, Pringle, Oliver, Wallace, & Baur LLP;

(6) $50,000.00 in proceeds seized from the trust account of the law
firm of Bieser, Greer & Landis LLP:

(7) $8,518.30 in proceeds seized from the trust account of the law firm
of Allen, Dyer, Doppelt, Milbrath & Gilchrist PA:

(8) $25,000.00 in proceeds seized from the trust account of the law
firm of Valenti, Hanley & Robinson PLLC;

(9) $10,000.00 in proceeds seized from the trust account of the law
firm of Brown, Stone, & Nimeroff LLC;

(10) $21,900.00 in proceeds seized from the trust account of the law
firm of Hunt Rudd PA;

(11) $41,029.54 in proceeds seized from the trust account of the law
firm of Ford & Harrison PA;

(12) $12,528.51 in proceeds seized from the trust account of the law
firm of Broad & Cassel:

   
 

 

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(13) $20,754.19 in proceeds seized from the trust account of the law
firm of Latham, Shuker, Barker, Eden, & Beaudine LLC: and

(14) $13,100.99 in proceeds seized from Fifth Third Bank Account No.
7440599020 in the name of Soone Business Development.

The assets of the following corporations, including but not limited to the
below listed lawsuits and/or settlements:

Corporations:

AEM, Inc., d/b/a Mirabilis HR,

AQMI Strategy Corporation,

Hoth Holdings, LLC,

Mirabilis Ventures, Inc.,

Nexia Strategy Corporation,

Presidion Solutions, Inc.,

Professional Benefit Solutions, Inc.,
d/b/a Presidion Solutions VII, Inc.

Quantum Delta Enterprises, Inc.,
d/b/a Siren Resources, Inc.,

Titanium Technologies, Inc.,

f/k/a Titanium Consulting Services, Inc.,
Tenshi Leasing, Inc.
Wellington Capital Group, Inc.

Lawsuits:

 

Style of case

Location Case No.

 

Mirabilis Ventures, Inc. v.
Jeffrey Reichel

Broward County, Florida | CACE 07011827

 

Mirabilis Ventures, Inc,
and Nexia Strategy Corp.
v. Palaxar Group, LLC, et
al.

Orange County, Florida 07-co-13191 (37)

 

Mirabilis Ventures, Inc. v.
Forge Capital Partners,
LLC, etal.

 

 

Orange County, Florida 07-CA-13828 (33)

 

 

 

   

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Style of case

Location

Case No.

 

Mirabilis Ventures, Inc. v.
J.C. Services, Inc., et al.

U.S.D.C., M.D. FI.

6:06-cv-1957-Orl-22KRS

 

AEM, Inc. d/b/a Mirabilis
HR v. Sheryl Okken,
Progressive Employer
Services, LLC, et al.

Brevard County, Florida

05-2007-CA-006526

 

RKT Constructors, Inc. v.
Del Kelley and Robi
Roberts

Orange County, Florida

2007-CA-012599-0

 

Mirabilis Ventures, Inc. v.

Stratis Authority, Inc., et al.

Orange County, Florida

07-ca-13826 (37)

 

Mirabilis Ventures, Inc. v.
Premier Servicing, LLC
and Robert Konicki

Orange County, Florida

07-ca-33197 (34)

 

Mirabilis Ventures, Inc. v.
Robert Lowder, et al.

Orange County, Florida

2006-CA-005742-0

 

Kenneth Hendricks, et al.
v. Mirabilis Ventures, Inc.,
et al. (Counterclaim)

U.S.D.C., M.D.FI.

8:07-cv-661-T17EAJ

 

Kenneth Hendricks, et al.
v. Mirabilis Ventures, Inc.,
et al. (Counterclaim)

Hillsborough County,
Florida

DC-07-014201J

 

Berman, Kean & Riguera,
P.A. v. Mirabilis Ventures,
Inc., et al. (Counterclaim)

Broward County, Florida

07-024968 (21)

 

Anthony T. Sullivan v.
AQMI Strategy
(Counterclaim)

Orange County, Florida

07-CA-0015981-0

 

Paysource, Inc. And
Robert Sacco v. Mirabilis
Ventures, Amodeo, et al.
(Counterclaim)

 

 

U.S.D.C., S.D. Ohio

 

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Wellington Capital Group,
Inc.

Style of case Location Case No.

Prime Acquisition Group, Palm Beach County, 502007CA02242
LLC v. lonic Services, Inc., | Florida

et al. (Counterclaim)

Michael Mapes, et al. v. U.S.D.C., D. Neb. 8:07cv77

 

Briarcliff Village, LLC v.
Mirabilis Ventures, Inc.

Clay County, Missouri

07CY-CV09414

 

William Gregory v. Floyd
Road v. Mirabilis Ventures,
Inc. (Counterclaim)

Hillsborough County,
Florida

07-CA-010780

 

Coastal Equity Partners,
LLC v. Pacific Atlantic
Capital Corp., et al.
(Counterclaim)

Henrico County, Virginia

CLO07-1960

 

Liberty Property Limited
Partnership v. Mirabilis
Ventures, Inc., et al.
(Counterclaim, settled)

Duval County, Florida

162007CA003642

 

Tranmere Rovers Football
Club v. Mirabilis Ventures,
Inc. (Counterclaim, settled)

Liverpool, England

7LV30022

 

Mark Lang v. Mirabilis
Ventures, Inc.
(Counterclaim, settled)

Orange County, Florida

48-2007-CA-002929-0

 

David Chaviers, Norman
Chaviers, Kellie Ledbetter
and Tom Hancock v.
Mirabilis Ventures, Inc.
And Frank Amodeo, et al.
(Counterclaim, settled)

U.S.D.C., N.D. Ala.

CV-07-0442-cls

 

Carlton Fields v. Mirabilis
Ventures, Inc.
(Counterclaim, settled)

 

 

Hillsborough County,
Florida

 

07-CC-038145

 

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Style of case

Location

Case No.

 

Brevard County v. RKT
Constructors, Inc.
(Counterclaim, settled)

Brevard County, Florida

05-2007-CA-12251

 

Bellsouth v. RKT
Constructors, Inc., et al.
(Counterclaim, settled)

Orange County, Florida

05-2007-CA-9660-0

 

Dutko Global Advisors LLC
v. AQMI Strategy
Corporation

(Counterclaim, settled)

Orange County, Florida

48-2007-CA-018164-0

 

Capital Office Products of
Volusia County, Inc., v.
Mirabilis Ventures, Inc.
(Counterclaim, settled)

Volusia County, Florida

2007-34950 COCI

 

CDW Corporation, Inc. v.
Information Systems, Inc.
(Counterclaim, settled)

Cook County, Illinois

2007-L-002446

 

RKT Constructors, Inc. v.
Florida Department of
Transportation (Settled)

Broward County, Florida

05-2003-CA-047397

 

RKT Constructors, Inc. v.
Florida Department of
Transportation (Settled)

Broward County, Florida

05-2006-CA-060518

 

Providence Property &
Casualty Insurance Co, et
al. v. Paradyme, Inc., d/b/a
Presidion Solutions VI
(settled)

U.S.D.C., E.D. Tx.

4:07-CV-202

 

Presidion Corporation v.
Arrow Creek, Inc., et al.

 

 

Palm Beach County,
Florida

 

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h. Any and all property of the following bankruptcy estates, including funds
which now constitute or have constituted funds of the estate:

 

 

 

Style of case Location Case No.

In Re: Winpar Hospitality U. S. Bankruptcy Court, 07-11908
Chattanooga, LLC. E.D. Tenn.

Sam Hopkins, Trustee v. U. S. Bankruptcy Court, 08-08005-JDP
Todd Pattison and D. Idaho

Mirabilis Ventures, Inc.

 

 

 

 

In Re: Mirabilis Ventures, U. S. Bankruptcy Court, 6:08-bk-04327-KSJ
Inc. M.D. FI.
In Re: Hoth Holdings, LLC | U. S. Bankruptcy Court, 6:08-bk-04328-KSJ
M.D. FI.
In Re: AEM, Inc. U. S. Bankruptcy Court, 6:08-bk-04681
M.D. FI.
In Re: North American U. S. Bankruptcy Court, 2:07-bk-24900
Communications D. Utah

 

 

 

 

Section 981(a)(1)(C) provides for the civil forfeiture of any property, real or
personal, which constitutes or is derived from proceeds from any offense constituting
"specified unlawful activity" as defined in 18 U.S.C. § 1956(c)(7), or a conspiracy to
commit such offenses. 18 U.S.C. § 981(a)(1)(C). A "specified unlawful activity,” as
defined in 18 U.S.C. § 1956(c)(7), includes offenses listed in 18 U.S.C. § 1961(1) as
RICO predicate acts; violations of 18 U.S.C. § 1343 are among the RICO predicate
acts. The real and personal properties identified above (including the residential and
commercial properties, vehicles, aircraft, seized funds, promissory notes, as well as the
corporations and corporate assets) were purchased, or funded, with proceeds from

AMODEO’s scheme to defraud his clients, as discussed more fully in the factual basis

   

 

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below, in violation of 18 U.S.C. § 1343. Indeed, with the exception of the disputed
alleged commission received by AMODEO from Presidion Corporation (see Statement
of Facts below), the corporations identified above were funded exclusively with the
proceeds of the fraud scheme described below and the scheme was AMODEO's sole
source of income. Thus, all of the specific assets identified above are subject to
criminal forfeiture under 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), which
provides for the criminal forfeiture of any property subject to civil forfeiture.

Although the fraud proceeds were moved through the corporations at the
direction of AMODEO, those funds remain the proceeds of AMODEO's scheme and are
forfeitable in this action by virtue of 21 U.S.C. § 853(c) without regard to the fact that the
titled owner may be a corporate entity. Moreover, the corporate entities were not bona
fide purchasers for value of the criminal proceeds and, therefore, do not have valid
claims, under 21 U.S.C. § 853(n)(6)(B), to the proceeds or assets acquired with the
proceeds.

The defendant agrees and consents to the forfeiture of these assets pursuant to
any federal criminal, civil, and/or administrative forfeiture action. The defendant also
hereby agrees that the forfeiture described herein is not excessive and, in any event,
the defendant waives any constitutional claims that the defendant may have that the
forfeiture constitutes an excessive fine.

The defendant admits and agrees that the conduct described in the Factual Basis
above provides a sufficient factual and statutory basis for the forfeiture of the property

sought by the government. Pursuant to the provisions of Rule 32.2(b)(1), the United

 

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States and the defendant request that at the time of accepting this plea agreement, the
court make a determination that the government has established the requisite nexus
between the property subject to forfeiture and the conspiracy to which defendant is
pleading guilty and enter a preliminary order of forfeiture. Pursuant to Rule 32.2(b)(3),
the defendant agrees that the preliminary order of forfeiture shall be final as to the
defendant at the time it is entered, notwithstanding the requirement that it be made a
part of the sentence and be included in the judgment.

The defendant agrees to forfeit all interests in the properties described above
and to take whatever steps are necessary to pass clear title to the United States. These
steps include, but are not limited to, the surrender of title, the signing of a consent
decree of forfeiture, and signing of any other documents necessary to effectuate such
transfers. The defendant also agrees to sign any documents necessary to effect an
interlocutory sale of any of the assets, if the United States deems such a sale to be
necessary to maximize the value recovered from the asset(s).

Defendant further agrees to take all steps necessary to locate property and to
pass title to the United States before the defendant's sentencing. To that end,
defendant agrees to fully assist the government in the recovery and return to the United
States of any assets, or portions thereof, as described above wherever located. The
defendant agrees to make a full and complete disclosure of all assets over which
defendant exercises control and those which are held or controlled by a nominee. The
defendant further agrees to be polygraphed on the issue of assets, if it is deemed

necessary by the United States.

   

 

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The United States further asserts that the real property, including all
improvements thereon and appurtenances thereto, located at:

(1) 614 Lake Avenue, Orlando, Florida

(2) 709 Euclid Avenue, Orlando, Florida
was purchased with the proceeds of the conspiracy charged in Count One and are
subject to forfeiture. The defendant, however, alleges that the properties were
purchased with funds which were monies received as a commission from a consulting
contract with Presidion Corporation and are not subject to forfeiture. The parties agree
that the Court, as soon as practicable after accepting the defendant's guilty plea, shall
determine whether the properties were purchased with criminal proceeds.

The defendant agrees that the United States is not limited to forfeiture of the
property described above. If the United States determines that any of the specific
property of the defendant identified for forfeiture cannot be located upon the exercise of
due diligence; has been transferred or sold to, or deposited with, a third party; has been
placed beyond the jurisdiction of the Court; has been substantially diminished in value;
or has been commingled with other property which cannot be divided without difficulty;
then the United States shall, at its option, be entitled to forfeiture of any other property
(substitute assets) of the defendant up to the value of any property described above.
The defendant also agrees that the United States shall, at its option, be entitled to
forfeiture of any property (substitute assets) of the defendant up to the value of money

judgment. This Court shall retain jurisdiction to settle any disputes arising from

   

 

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application of this clause. The defendant agrees that forfeiture of substitute assets as
authorized herein shall not be deemed an alteration of the defendant's sentence.

Forfeiture of the defendant's assets shall not be treated as satisfaction of any
fine, restitution, cost of imprisonment, or any other penalty this Court may impose upon
the defendant in addition to forfeiture.
B. Standard Terms and Conditions

1. Restitution, Special Assessment and Fine

The defendant understands and agrees that the Court, in addition to or in

lieu of any other penalty, shall order the defendant to make restitution to any victim of
the offense(s), pursuant to 18 U.S.C. § 36634, for all offenses described in 18 U.S.C. §
3663A(c)(1) (limited to offenses committed on or after April 24, 1996); and the Court
may order the defendant to make restitution to any victim of the offense(s), pursuant to
18 U.S.C. § 3663 (limited to offenses committed on or after November 1, 1987) or §
3579, including restitution as to all counts charged, whether or not the defendant enters
a plea of guilty to such counts, and whether or not such counts are dismissed pursuant
to this agreement. On each count to which a plea of guilty is entered, the Court shall
impose a special assessment, to be payable to the Clerk's Office, United States District
Court, and due on date of sentencing. The defendant understands that this agreement
imposes no limitation as to fine.

2. Supervised Release

The defendant understands that the offense(s) to which the defendant is

pleading provide(s) for imposition of a term of supervised release upon release from

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imprisonment, and that, if the defendant should violate the conditions of release, the
defendant would be subject to a further term of imprisonment.
3. Sentencing Information

The United States reserves its right and obligation to report to the Court
and the United States Probation Office all information concerning the background,
character, and conduct of the defendant, to provide relevant factual information,
including the totality of the defendant's criminal activities, if any, not limited to the
count(s) to which defendant pleads, to respond to comments made by the defendant or
defendant's counsel, and to correct any misstatements or inaccuracies. The United
States further reserves its right to make any recommendations it deems appropriate
regarding the disposition of this case, subject to any limitations set forth herein, if any.

Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P. 32(d)(2)(A)(ii),
the defendant agrees to complete and submit, upon execution of this plea agreement,
an affidavit reflecting the defendant's financial condition. The defendant further agrees,
and by the execution of this plea agreement, authorizes the United States Attorney's
Office to provide to, and obtain from, the United States Probation Office or any victim
named in an order of restitution, or any other source, the financial affidavit, any of the
defendant's federal, state, and local tax returns, bank records and any other financial
information concerning the defendant, for the purpose of making any recommendations
to the Court and for collecting any assessments, fines, restitution, or forfeiture ordered

by the Court.

 
  

 

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4. Sentencing Recommendations

It is understood by the parties that the Court is neither a party to nor
bound by this agreement. The Court may accept or reject the agreement, or defer a
decision until it has had an opportunity to consider the presentence report prepared by
the United States Probation Office. The defendant understands and acknowledges that,
although the parties are permitted to make recommendations and present arguments to
the Court, the sentence will be determined solely by the Court, with the assistance of
the United States Probation Office. Defendant further understands and acknowledges
that any discussions between defendant or defendant's attorney and the attorney or
other agents for the government regarding any recommendations by the government
are not binding on the Court and that, should any recommendations be rejected,
defendant will not be permitted to withdraw defendant's plea pursuant to this plea
agreement. The government expressly reserves the right to support and defend any
decision that the Court may make with regard to the defendant's sentence, whether or
not such decision is consistent with the government's recommendations contained
herein.

5. Defendant's Waiver of Right to Appeal and

Right to Collaterally Challenge the Sentence

The defendant agrees that this Court has jurisdiction and authority to
impose any sentence up to the statutory maximum and expressly waives the right to

appeal defendant's sentence or to challenge it collaterally on any ground, including the

ground that the Court erred in determining the applicable guidelines range pursuant to

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the United States Sentencing Guidelines, except (a) the ground that the sentence
exceeds the defendant's applicable guidelines range as determined by the Court
pursuant to the United States Sentencing Guidelines; (b) the ground that the sentence
exceeds the statutory maximum penalty; or (c) the ground that the sentence violates the
Eighth Amendment to the Constitution; provided, however, that if the government
exercises its right to appeal the sentence imposed, as authorized by Title 18, United
States Code, Section 3742(b), then the defendant is released from his waiver and may
appeal the sentence as authorized by Title 18, United States Code, Section 3742(a).
6. Middle District of Florida Agreement
It is further understood that this agreement is limited to the Office of the
United States Attorney for the Middle District of Florida and cannot bind other federal,
state, or local prosecuting authorities, although this office will bring defendant's
cooperation, if any, to the attention of other prosecuting officers or others, if requested.
7. Filing of Agreement
This agreement shall be presented to the Court, in open court or in
camera, in whole or in part, upon a showing of good cause, and filed in this cause, at
the time of defendant's entry of a plea of guilty pursuant hereto.
8. Voluntariness
The defendant acknowledges that defendant is entering into this
agreement and is pleading guilty freely and voluntarily without reliance upon any
discussions between the attorney for the government and the defendant and
defendant's attorney and without promise of benefit of any kind (other than the

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concessions contained herein), and without threats, force, intimidation, or coercion of
any kind. The defendant further acknowledges defendant's understanding of the nature
of the offense or offenses to which defendant is pleading guilty and the elements
thereof, including the penalties provided by law, and defendant's complete satisfaction
with the representation and advice received from defendant's undersigned counsel (if
any). The defendant also understands that defendant has the right to plead not guilty or
to persist in that plea if it has already been made, and that defendant has the right to be
tried by a jury with the assistance of counsel, the right to confront and cross-examine
the witnesses against defendant, the right against compulsory self-incrimination, and
the right to compulsory process for the attendance of witnesses to testify in defendant's
defense; but, by pleading guilty, defendant waives or gives up those rights and there will
be no trial. The defendant further understands that if defendant pleads guilty, the Court
may ask defendant questions about the offense or offenses to which defendant
pleaded, and if defendant answers those questions under oath, on the record, and in
the presence of counsel (if any), defendant's answers may later be used against
defendant in a prosecution for perjury or false statement. The defendant also
understands that defendant will be adjudicated guilty of the offenses to which defendant
has pleaded and, if any of such offenses are felonies, may thereby be deprived of
certain rights, such as the right to vote, to hold public office, to serve on a jury, or to

have possession of firearms.

    

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9. Factual Basis
Defendant is pleading guilty because defendant is in fact guilty. The
defendant certifies that defendant does hereby admit that the facts set forth below are
true, and were this case to go to trial, the United States would be able to prove those
specific facts and others beyond a reasonable doubt:
FACTS

I. Introduction

This case involves a web of one public and several private companies, including
multiple employee leasing companies, also known as professional employee
organizations (PEOs). The responsibilities of the PEOs included, among other duties,
the reporting and paying over of the payroll wages and payroll taxes of the worksite
employees. AMODEO had operated small businesses prior to the time period of the
indictment in this case, and was aware that once Federal Insurance Contributions Act
("FICA") and withholding taxes ("trust fund taxes") are collected they are supposed to be
held for and paid over to the Internal Revenue Service. Notwithstanding this
knowledge, AMODEO conspired with other members of the conspiracy to divert payroll
tax funds paid to the PEOs by the PEO clients and utilize those funds for other
purposes.

There were a number of companies directly controlled by AMODEO, including
the Sunshine Companies, Professional Benefit Solutions ("PBS"), Paradyme, Inc.
("Paradyme"), Presidion Solutions, Inc. ("PSI"), Quantum Delta Enterprises

("Quantum"), Wellington Capital Group, Inc. ("Wellington") and AQMI Strategy

 

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Corporation ("‘AQMI"). AMODEO had varying degrees of control over a number of
additional companies involved in the conspiracy, including Mirabilis Ventures, Inc.
("Mirabilis"), as described more fully below.

ll. | AMODEO's purchase of Sunshine Companies from Presidion Solutions,

Inc. (PSI)

PSI is a Michigan-based holding company for several PEOs that during the
period from 2001 through 2005 provided comprehensive and integrated resource
management services, including payroll services, to small and medium sized
companies. Prior to July of 2005, PSI was a wholly owned subsidiary of Presidion
Corporation, a publicly traded company, which was later de-listed.

AMODEO did not become involved with PSI until 2004. Prior to his involvement,
PSI had already acquired seven (7) PEOs, which made up PSI's "PEO book of
business" (i.e. the contracts PSI had with its PEO clients). In or about May 2001, PSI
acquired Sunshine Staff Leasing, Sunshine Companies |, Il, Ill, and IV (collectively
referred to as the Sunshine Companies). Post-acquisition, these entities did business
as Presidion Solutions |, ll, ll, IV, and V, respectively. PSI acquired Paradyme in or
about January 2002, which subsequently did business as Presidion Solutions VI. PSI
then acquired certain PEO customer contracts from BST, Inc. in or about June 2002.
Lastly, PSI acquired PBS in or about January 2005, which subsequently did business as
Presidion Solutions VII. With the acquisitions of the Sunshine Companies, Paradyme

and PBS, PSI had at least 2,200 clients and approximately 29,700 worksite employees.

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The clients of the PEOs entered into contracts, or service agreements, with PSI
(or its subsidiaries). Initially the clients entered into the agreement with the Sunshine
Companies; then later on, the clients either entered into an agreement with Paradyme
or PBS. According to the contracts signed by the clients when PSI (or its subsidiaries)
started providing services to the clients, PSI became the co-employer of its clients’
employees and assumed the liabilities and responsibilities for reporting and paying over
to the Internal Revenue Service the payroll wages and the payroll taxes of the worksite
employees. At the end of a client's payroll cycle, a client would e-mail, fax or mail the
number of hours worked by the worksite employee(s) to PSI. After receiving the
information, PSI computed the amount of FICA, Medicare (HITS), Withholding Taxes,
Worker's Compensation Insurance, and 401K contributions to be added to the clients’
bill, along with PSI's administrative fee. PSI would then e-mail, fax or mail this
information back to the clients, who would either direct debit, mail or wire the funds to
PSI.

Beginning in July 2004, AMODEO began negotiating with the principals of PSI to
assist them in the reduction of their corporate debt, which included unpaid payroll taxes
totaling at least $13,000,000.00 (including interest, penalties and taxes), which were
accrued by the Sunshine Companies. At the time, the parent corporation of PSI,
Presidion Corporation, was preparing for an annual audit. In an attempt to have
Presidion Corporation appear more profitable as a publicly traded company, PSI wanted
the Sunshine Companies’ payroll tax liabilities removed from Presidion Corporation's

financial statements.

    

 

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To that end, on October 18, 2004, PSI signed a consulting agreement with
AMODEO, as the president of AQMI. The consulting agreement called for AMODEO to
provide tax advice to PSI for a non refundable fee in the amount of $150,000.00 and an
additional fee of 25% of any tax savings of the company's current payroll tax liability,
which at the time, was at least $13,000,000.00 (including interest, penalties and taxes).

AMODEO's plan was to have Wellington, a corporation he controlled, purchase
the Sunshine Companies from PSI and thereby relieve PSI's financial statements of the
Sunshine Companies’ accumulated payroll tax liabilities. On December 1, 2004, AQMI
provided a line of credit in the amount of approximately $3,000,000.00 to Wellington.
On December 8, 2004, AMODEO, through Wellington agreed to purchase the Sunshine
Companies for approximately $500,000.00.

During December 2004, PSI transferred approximately $8.9 million to AQMI.
Witnesses for the government who were associated in a management capacity with PS!
will testify that they expected AMODEO to use the $8.9 million to remit payments to the
Internal Revenue Service in satisfaction of outstanding payroll tax obligations of the
Sunshine Companies. AMODEO contends that he and AQMI took the position that for
tax purposes all of the funds constituted payment pursuant to the Consulting
Agreement. Wellington used a portion of the funds received from AQMI to purchase
multiple cashier's checks to complete the purchase of the Sunshine Companies.

AMODEO's purchase of the Sunshine Companies did not include PSI's book of
business, which was transferred to Paradyme, a wholly owned subsidiary of PSI.

Wellington acquired the Sunshine Companies on or about December 31, 2004 and

  

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subsequenily dissolved the Sunshine Companies. Since the purchase of the Sunshine
Companies by Wellington, AMODEO caused to be paid approximately $3.2 million to
the Internal Revenue Service towards the Sunshine Companies' payroll tax liabilities,
which currently totals over $37,000,000.00 (including interest, penalties and taxes).

HI. AMODEO's purchase of PSI, Paradyme and PBS

On or about May 18, 2005, AMODEO was again approached by principals of PSI
regarding further problems with the company, including a severe shortage of working
capital, other liabilities totaling millions of dollars, and potential cancellation of its
workers compensation insurance policy. AMODEO and other members of the
conspiracy devised a reorganization strategy for the aggregate PSI book of business.

In or about July 2005, Wellington, at AMODEO's direction, acquired PSI, and
consequently acquired control of PSI's subsidiaries and remaining PEOs, Paradyme
and PBS.

Thereafter, between June 2005 and December 2005, AMODEO directed that the
payroll taxes collected from the clients not be paid over to the Internal Revenue Service,
but instead be used to pay secured creditors (both arm's length third parties and entities
AMODEO controlled), critical vendors of PBS and Paradyme, and to purchase
commercial and business assets for the benefit of AMODEO and the other
co-conspirators. It was Amodeo's "grand plan" to not remit the payroll taxes in order to
grow Mirabilis to the point that it could become a publicly trade company. Once that

was accomplished, Mirabilis would be able to repay the payroll taxes.

   

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Pursuant to this plan, AMODEO directed that funds PBS should have used to
pay payroll taxes instead be transferred from a PS! account maintained at Bank of
America (the "Ultimate Master account"), which collected the payroll tax funds from
PBS, to a PSI account maintained at First Southern Bank (the "Reserve account"). The
funds were later disbursed from the Reserve account at AMODEO's direction for
purposes unrelated to the payment of payroll tax liabilities to the IRS. From June 10,
2005 until December 31, 2005, AMODEO caused to be transferred approximately
$64 ,600,000.00 to the Reserve account from the Ultimate Master account for the
purpose of rehabilitating PSI's book of business, acquiring other businesses and paying
operating expenses, which enabled AMODEO, companies he controlled, and other
members of the conspiracy to acquire personal assets, such as real estate and
automobiles.

IV. Transfer of Paradyme and PBS business to AEM

In late 2005, negotiations occurred to sell the book of business of Paradyme and
PBS to AEM, Inc. ("AEM") effective January 1, 2006. A major purpose of the sale was
to shift the apparent responsibility for the payment of the payroll taxes to AEM and its
parent company, Mirabilis, a private equity fund, one of the consequences of which was
to make it more difficult for the Internal Revenue Service to determine which company
was responsible for the payroll taxes. Although the sale was never fully consummated,
AEM thereafter had effective operational control over the book of business of Paradyme
and PBS. Mirabilis was originally formed by AMODEO in 2004 to buy distressed
businesses, and eventually evolved into a business that specialized in acquisitions of

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and mergers with other businesses in various industries. By late 2006, Mirabilis had
grown to be a conglomerate of approximately 70 companies involved in various
industries, including consulting, corporate security, employee leasing and hotel
ownership. Although AMODEO was never an officer, director or employee of Mirabilis,
he created Mirabilis, brought in the officers to run the company and funded the company
with diverted payroll tax funds that should have been paid over to the Internal Revenue
Service.

In most instances, AMODEO exercised or attempted to exercise considerable
control over both the long term and short term management of the company. For
example, during a March 21, 2006 Mirabilis Board of Directors meeting attended by
AMODEO, he told the Board that they had a fiduciary obligation to him as the
company's sole common stock shareholder and senior secured creditor, recommended
various changes to the composition of the Board of Directors that were subsequently
implemented by the Board, laid out recommended changes in operational procedures
that were also implemented by the Board, and proposed future acquisition strategies
which were to be funded by cash infusions which he would supply. The cash infusions
made by AMODEO were derived from payroll tax funds. Mirabilis used these funds to
fund acquisitions of other businesses, pay substantial salaries and make investments in
businesses in which certain members of the conspiracy held separate interests.

In connection with the anticipated January 2006 purchase by AEM of the
Paradyme and PBS book of business, a member of the conspiracy signed a hold
harmless agreement on behalf of PSI, promising to pay Mirabilis $50,000,000 by

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December 31, 2005 in return for Mirabilis' agreement to hold PSI harmless for any
subsequent claims against the company, up to a maximum of $70,000,000. This
obligation effectively diverted to Mirabilis $50,000,000 of funds owed to the Internal
Revenue Service, with the additional advantage of creating a $70,000,000 debt owed by
Mirabilis that could be used in negotiating with the Internal Revenue Service for
deferment of the payment of the rapidly escalating unpaid trust fund taxes. This was
part of and consistent with AMODEO'S overall plan of circumventing the Internal
Revenue Service's immediate collection of accrued trust fund tax obligations by
transferring collected trust fund taxes from corporation to corporation and concomitantly
creating offsetting inter-corporate liabilities that were used to justify nonpayment and to
create leverage in ongoing negotiations with the Internal Revenue Service.

In or about January, 2006, AMODEO requested that a legal memorandum be
prepared by the outside law firm of general counsel for Mirabilis on the law applicable to
the reporting and payment of payroll taxes to the Internal Revenue Service. On
February 2, 2006, a final version of the memorandum was submitted to AMODEO
regarding the relationship between current trust fund obligations, after acquired funds
and willfulness under |.R.C. Section 6672. The memorandum described in detail the
legal obligation to hold payroll tax funds for the Internal Revenue Service and specified
civil and criminal penalties (including criminal penalties under Section 7202) for failure to
follow the applicable law. AMODEO knew that the memorandum had in fact been
completed and admits that he received it, but it is his position that he never read it and
never requested that anyone summarize its contents to him. AMODEO submitted the

    
 

    

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memorandum, still allegedly unread by him, to the general counsel for Mirabilis
immediately upon receiving it and directed that a copy be provided to the Mirabilis
Board of Directors. AMODEO also personally delivered a copy of the memorandum to
the Internal Revenue Service in July 2006.

Although AMODEO is a former attorney and experienced with debtor-creditor
law, in failing to read the memorandum or inquire further into its contents, AMODEO
deliberately and consciously tried to avoid learning what specific statutes prohibited his
conduct and deliberately closed his eyes to what he had every reason to believe was
the fact, i.e., that he was legally prohibited from permitting collected trust fund taxes to
be used for any purpose other than the transmission in due course to the Internal
Revenue Service. Consequently, AMODEO accepts full responsibility for intentionally
and willfully violating 26 U.S.C. Section 7202 by failing to remit payroll taxes collected
by PBS to the Internal Revenue Service during quarterly periods in 2006 in which
AMODEO was in control of PBS, including the first, second and fourth quarters of 2006
referred to in Counts Seven, Eight and Ten of the Indictment.

V. Use of AEM to misappropriate PBS' payroll taxes

During 2006, members of the conspiracy used AEM to misappropriate PBS'
payroll taxes. During the 2006 year, the funds intended to pay the payroll taxes for PBS
were held in a Bank of America account in the name of AEM along with funds to pay the
payroll taxes for AEM, which had its own minuscule book of business. Instead of paying
the payroll taxes for PBS, AMODEO and members of the conspiracy directed that funds

be transferred from the AEM Bank of America account to an account at SunTrust Bank

 

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in the name of PSI (the "Capital account’). During 2006, approximately $23,750,000.00
was transferred from the AEM Bank of America account to the SunTrust Capital
account. After the funds were transferred to the Capital account, the funds were used
by AMODEO and members of the conspiracy to purchase, fund, and grow additional
businesses.

In addition to the funds transferred to the Capital account during 2006, funds
were also directly transferred from the AEM Bank of America account to companies
controlled by AMODEO and members of the conspiracy, such as Common Paymaster
Corporation ("CPC"), Nexia Strategy Corporation ("Nexia") and Mirabilis, to fund the
companies' operations and to acquire other companies. In December 2006, after the
receipt of the grand jury subpoenas, AMODEO knowingly permitted payroll taxes
collected on a daily basis from the PEO book of business to be used to fund net payroll
and health claims of Mirabilis and its affiliates.

Vi. Total unpaid payroll taxes

It is the position of the government that AMODEO and other members of the
conspiracy knowingly failed to remit to the Internal Revenue Service payroll taxes
totaling in excess of $181,000,000. However, AMODEO believes that the figure is no
higher than $172,000,000. The exact amount will be determined by the Court at
sentencing.

Vil. Obstruction of an agency investigation - Count Twenty-Seven

Commencing in early 2005, AMODEO and others were in contact with the

Internal Revenue Service concerning the Sunshine Companies' tax liabilities, but

    

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withheld information about PBS' tax liabilities from the Internal Revenue Service until
February 2006, by means that included the late filing of Forms 941, at which time PBS’
payroll tax liabilities exceeded $100,000,000.

On or about June 26, 2006, a co-conspirator advised an Internal Revenue
Service revenue officer that payroll tax money not paid to the Internal Revenue Service
was used to purchase two other companies, when, in fact, the money was used to
purchase, among other things, several companies, cars, a plane and real estate.

On or about August 29, 2006, AMODEO and members of the conspiracy met to
conduct a "mock deposition" of AMODEO to prepare him for a meeting with Internal
Revenue Service revenue officers. During a recess in the mock deposition, AMODEO
was advised by a co-conspirator that his account might expose them to prosecution for
federal offenses. As a result of that conversation, AMODEO subsequently changed his
account to conceal material aspects of their activity. This revised version of his account
was communicated to Internal Revenue Service representatives by one or more
members of the conspiracy, at AMODEO's direction, in an attempt to obstruct and
impede the Internal Revenue Service's investigation of PBS.

10. Entire Agreement

This plea agreement constitutes the entire agreement between the
government and the defendant with respect to the aforementioned guilty plea and no
other promises, agreements, or representations exist or have been made to the

defendant or defendant's attorney with regard to such guilty plea.

  

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11. Certification

The defendant and defendant's counsel certify that this plea agreement

has been read in its entirety by (or has been read to) the defendant and that defendant

fully understands its terms.

DATED this ok? day of September, 2008.

 

   

 

  

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ROBERT E. O’NEILL
United States Attorney

   
 

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|. Randall Gold, AUSA
Deputy Chief, Orlando Division

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Roger Handberg, AUSA
Chief, Orlando Division

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